                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA


 FEDERAL TRADE COMMISSION,

                                 Plaintiff,

                        v.                                              5:24-cv-00028
                                                              Case No. ______________

 NOVANT HEALTH, INC.,
                                                       REDACTED VERSION OF DOCUMENT
 and                                                        SOUGHT TO BE SEALED

 COMMUNITY HEALTH SYSTEMS, INC.,

                                 Defendants.



           COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND
           PRELIMINARY INJUNCTION PURSUANT TO SECTION 13(B) OF
                   THE FEDERAL TRADE COMMISSION ACT
       Plaintiff Federal Trade Commission (“FTC” or “Commission”) petitions this Court to

enter a stipulated temporary restraining order and grant a preliminary injunction enjoining

Defendants Novant Health, Inc. (“Novant”) and Community Health Systems, Inc. (“CHS”),

including their agents, divisions, parents, subsidiaries, affiliates, partnerships, and joint ventures,

from consummating their proposed acquisition. Novant and CHS entered into an Asset Purchase

Agreement dated February 28, 2023, whereby Novant will acquire Lake Norman Regional

Medical Center (“Lake Norman Regional”), Davis Regional Medical Center (“Davis”), and

related assets in North Carolina for $320 million (the “Proposed Transaction”). The Proposed

Transaction would significantly increase concentration in an already highly concentrated market.

The Proposed Transaction also threatens to eliminate substantial head-to-head competition

between CHS’s Lake Norman Regional and Novant, most notably Novant’s Huntersville

Medical Center (“Novant Huntersville”). Eliminating this competition would raise prices for

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commercial insurers and their health plan members and reduce the incentive to invest in quality

and innovation. Absent this Court’s action, Defendants can complete the Proposed Transaction

after 11:59 p.m. Eastern Standard Time on January 30, 2024. Plaintiff seeks this provisional

relief under Section 13(b) of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 53(b).

       The FTC requires the aid of this Court to pause Defendants’ Proposed Transaction until

the Commission has had the chance to review the transaction’s legality in an already-pending

administrative proceeding. The Commission initiated that administrative proceeding pursuant to

Sections 7 and 11 of the Clayton Act, 15 U.S.C. §§ 18, 21, and Section 5 of the FTC Act, 15

U.S.C. § 45, by filing an administrative complaint on January 25, 2024. The administrative

merits hearing will begin on June 26, 2024. This administrative proceeding will determine the

legality of the Proposed Transaction and will provide all parties a full opportunity to conduct

discovery and present testimony and other evidence on the likely competitive effects of the

Proposed Transaction. The pause the FTC seeks from this Court is necessary to maintain the

status quo and prevent interim harm during the pendency of the Commission’s administrative

proceeding.

                                     I. NATURE OF THE CASE

       1.      Novant, one of the largest hospital systems in the southeastern United States and

in North Carolina, seeks to acquire CHS’s Lake Norman Regional and Davis hospitals in North

Carolina. If allowed to proceed, the Proposed Transaction threatens to substantially lessen

competition for critical healthcare services in the “Eastern Lake Norman Area,” which primarily

includes Iredell County and northern Mecklenburg County. The loss of competition would likely

result in millions of dollars in increased healthcare costs.




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       2.      Today, Novant operates Novant Huntersville, which serves more patients than any

other hospital in the Eastern Lake Norman Area. The Proposed Transaction would permit Novant

to enhance and entrench its strong position by acquiring a significant competitor in the Eastern

Lake Norman Area. That hospital, CHS’s Lake Norman Regional, sits roughly 11 miles north of

Novant Huntersville. If the Proposed Transaction is completed, only two other acute-care

hospitals would remain in the Eastern Lake Norman Area: Iredell Memorial Hospital (“Iredell

Memorial”) and, assuming it opens as anticipated in mid-2025, the planned Atrium Health Lake

Norman hospital (“Atrium Lake Norman”).

       3.      The Proposed Transaction is unlawful for at least three independent reasons. First,

the Proposed Transaction is presumptively illegal because it would significantly increase

concentration in the already highly concentrated market for inpatient general acute care (“GAC”)

services sold to commercial insurers and their health plan members in the Eastern Lake Norman

Area. If the Proposed Transaction is consummated, Novant would control a significant

percentage of the Eastern Lake Norman Area market. Indeed, the most appropriate measures

indicate that the post-merger Novant would control approximately       percent of the Eastern

Lake Norman Area market. An array of ordinary course documents, witness testimony, and

economic analysis confirms this strong presumption of illegality. Even looking far broader than

the Eastern Lake Norman Area, the Proposed Transaction would produce presumptively illegal

levels of concentration.

       4.      Second, the Proposed Transaction would eliminate price competition between

CHS and Novant that constrains reimbursement rates for hospital services in the Eastern Lake

Norman Area.




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                                           This non-price competition, and the investment it

drives, benefits all patients that use these hospitals regardless of whether they are commercially

insured, use a government payment program such as Medicaid or Medicare, or are uninsured.

The Proposed Transaction would immediately eliminate this competition, likely reducing

healthcare investment and improvements to quality of care in the Eastern Lake Norman Area.

       7.      On January 25, 2024, the Commission found reason to believe that the Proposed

Transaction may substantially lessen competition or tend to create a monopoly in violation of

Section 7 of the Clayton Act, 15 U.S.C. § 18, and Section 5 of the FTC Act, 15 U.S.C. § 45, or

constitutes an unfair method of competition in violation of Section 5 of the FTC Act. On the

same day, the Commission initiated an administrative proceeding to determine the antitrust

merits of the Proposed Transaction. The ongoing administrative proceeding provides a forum for

all parties to conduct discovery, followed by a hearing before an Administrative Law Judge with

up to 210 hours of live testimony. After reviewing the recommended decision of the

Administrative Law Judge, the Commission will issue a decision, which is then subject to review

in a United States Court of Appeals.

       8.      The parties have stipulated to entry of a temporary restraining order to preserve

the status quo and protect competition while the Court considers the FTC’s application for a

preliminary injunction. Under this temporary restraining order, Defendants cannot consummate

the Proposed Transaction until the fifth business day after the Court rules on the FTC’s request

for a preliminary injunction or until after the date set by the Court, whichever is later.

       9.      Preliminary injunctive relief is necessary to preserve the status quo and protect

competition during the Commission’s ongoing administrative proceeding. Allowing the

Defendants to consummate the Proposed Transaction before the Commission assesses the



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Proposed Transaction’s potential anticompetitive effects is problematic for several reasons. It

would frustrate the Commission’s ability to remedy the anticompetitive effects of the Proposed

Transaction if it is found unlawful after a full trial on the merits and any subsequent appeals,

would permit competitive harm to begin immediately in the interim period prior to the

Commission’s decision, and would undermine the public’s interest in effective enforcement of

the antitrust laws.

                               II. JURISDICTIONAL STATEMENT

                                             A. Jurisdiction

        10.     The Court has jurisdiction under Section 13(b) of the FTC Act, 15 U.S.C. § 53(b),

and under 28 U.S.C. §§ 1331, 1337, and 1345. This is a civil action arising under the Acts of

Congress protecting trade and commerce against restraints and monopolies and is brought by an

agency of the United States authorized to bring this suit.

        11.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), provides in pertinent part:

                Whenever the Commission has reason to believe—
                       (1) that any person, partnership, or corporation is violating, or is about to
                       violate, any provision of law enforced by the Federal Trade Commission,
                       and
                       (2) that the enjoining thereof pending the issuance of a complaint by the
                       Commission and until such complaint is dismissed by the Commission or
                       set aside by the court on review, or until the order of the Commission
                       made thereon has become final, would be in the interest of the public—
                the Commission by any of its attorneys designated by it for such purpose may
                bring suit in a district court of the United States to enjoin any such act or practice.
                Upon a proper showing that, weighing the equities and considering the
                Commission’s likelihood of ultimate success, such action would be in the public
                interest, and after notice to the defendant, a temporary restraining order or a
                preliminary injunction may be granted without bond . . . .
        12.     The Proposed Transaction constitutes an acquisition subject to Section 7 of the

Clayton Act, 15 U.S.C. § 18.

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       13.     Defendants and their relevant operating entities and subsidiaries are, and at all

relevant times have been, engaged in activities in or affecting “commerce” as defined in Section

4 of the FTC Act, 15 U.S.C. § 44, and Section 1 of the Clayton Act, 15 U.S.C. § 12. Defendants

are, and at all relevant times have been, engaged in commerce in the State of North Carolina.

                                               B. Venue

       14.     Defendants transact business in the Western District of North Carolina. The FTC

Act, 15 U.S.C. § 53(b), also authorizes nationwide service of process, rendering Defendants

subject to personal jurisdiction in the Western District of North Carolina, Fed. R. Civ. P.

4(k)(1)(C). Venue, therefore, is proper in the Western District of North Carolina under 28 U.S.C.

§ 1391(b) and (c), as well as under 15 U.S.C. § 53(b).

                                      C. Divisional Assignment

       15.     Assignment to the Statesville Division is proper. This action arises in Iredell

County because a substantial portion of the assets that Novant seeks to acquire are located in

Iredell County.

                                         III. THE PARTIES

       16.     Plaintiff Federal Trade Commission is an administrative agency of the United

States government, established, organized, and existing pursuant to the FTC Act, 15 U.S.C.

§§ 41 et seq., with its principal offices in Washington, D.C. The Commission is vested with

authority and responsibility for enforcing, inter alia, Section 7 of the Clayton Act, 15 U.S.C. §

18, and Section 5 of the FTC Act, 15 U.S.C. § 45.

       17.     Defendant Novant is a multi-state non-profit healthcare provider that operates one

of the largest hospital systems in North Carolina. It is headquartered in Winston-Salem, North

Carolina. Novant’s annual revenue in 2022 was $7.6 billion.



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       18.     Novant operates 16 GAC hospitals in North Carolina, as well as more than 800

outpatient facilities and physician offices across North Carolina and South Carolina. Six of

Novant’s GAC hospitals are in Charlotte or its surrounding suburbs. One of those hospitals is in

the Eastern Lake Norman Area: Novant Huntersville, a 151-bed community hospital located in

Mecklenburg County, approximately 14 miles north of center-city Charlotte.

       19.     Novant grew to its current size through a decades-long series of mergers in North

Carolina. Shortly after acquiring one of the largest hospitals in the state in 2021, Novant

accelerated its campaign of consolidation. Including the Proposed Transaction,




       20.     Defendant CHS is a for-profit healthcare system that operates 71 hospitals and

thousands of sites of care, including physician practices and outpatient facilities, across 15 states.

It is incorporated in Delaware and headquartered in Franklin, Tennessee. CHS’s annual revenue

in 2022 was $12.2 billion.

       21.     CHS operates two hospitals in North Carolina: Lake Norman Regional and Davis.

Both hospitals are in the Eastern Lake Norman Area. Lake Norman Regional is a

          123-bed community hospital in Mooresville, roughly 25 miles north of center-city

Charlotte. Davis is in Statesville, equidistant between Charlotte and Winston-Salem. In 2022,

CHS ceased offering inpatient GAC services at Davis and converted the facility to a dedicated

behavioral health hospital.

                              IV. THE PROPOSED TRANSACTION

       22.     On February 28, 2023, Novant and CHS executed an Asset Purchase Agreement

in which Novant agreed to pay CHS $320 million to acquire Lake Norman Regional, Davis, and
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related assets,




        23.       Under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, 15 U.S.C.

§ 18a, and a timing agreement between Defendants and FTC staff, unless this Court grants the

FTC’s requested relief, Defendants will be free to consummate the Proposed Transaction after

11:59 p.m. Eastern Standard Time on January 30, 2024.

        V. THE PROPOSED TRANSACTION WOULD SIGNIFICANTLY INCREASE
             CONCENTRATION IN A HIGHLY CONCENTRATED MARKET

        24.       The Proposed Transaction would significantly increase concentration in the

already concentrated market for inpatient GAC services sold to commercial insurers and their

members in the Eastern Lake Norman Area. The increased concentration in this market

establishes a prima facie case that the Proposed Transaction is unlawful and is a basis to

preliminarily enjoin the Proposed Transaction pending merits proceedings before the

Commission.

                         A. Relevant Service Market: Inpatient GAC Services
                          Sold to Commercial Insurers and Their Members

        25.       Inpatient GAC services sold to commercial insurers and their members is a

relevant service market in which to assess the Proposed Transaction’s competitive effects.

        26.       Inpatient GAC services include a broad cluster of hospital services—medical,

surgical, and diagnostic services requiring an overnight hospital stay—for which competitive

conditions are substantially similar. In this case, inpatient GAC services cover all such services

that both CHS’s Lake Norman Regional and Novant Huntersville offer. Non-overlapping

services are not included in the relevant service market, as the Proposed Transaction is not likely

to affect competition for those services.

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       27.     Examples of inpatient GAC services include childbirth, complex surgeries such as

cardiac surgery, treatment of serious illnesses and infections, and some emergency care.

Inpatient GAC services are required by distinct customers: individuals who need medical,

surgical, and diagnostic services that necessitate an overnight hospital stay. Inpatient GAC

services are provided by specialized providers—GAC hospitals.

       28.     Due to the specialized facilities, regulatory and licensing requirements, and high

level of care involved, inpatient GAC services have distinct prices that are relatively insensitive

to price changes for other medical services, such as outpatient services. Industry participants,

including Defendants, recognize inpatient GAC services as a distinct category of services in the

ordinary course of their business.

       29.     Although the Proposed Transaction’s likely effects could be analyzed separately

for each of the hundreds of individual inpatient acute-care services Defendants both offer, it is

appropriate to assess competitive effects and calculate market concentration for inpatient GAC

services as a cluster of services. These services are offered in the Eastern Lake Norman Area

under substantially similar competitive conditions. Grouping the hundreds of individual inpatient

acute care services into a cluster for analytical convenience enables the efficient evaluation of

competitive effects and reflects commercial and competitive realities.

       30.     Outpatient services, which are typically less intensive than inpatient services and

do not require an overnight hospital stay, are excluded from the cluster market for inpatient GAC

services. Examples of outpatient services include minor surgeries, MRI scans, and

mammograms. The decision whether to treat a patient with an outpatient or inpatient service is a

medical determination based on that patient’s specific clinical need. Commercial insurers and

their members generally cannot substitute an outpatient service for an inpatient service in



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response to a price increase, degradation of quality, or other exercise of market power with

respect to inpatient GAC services. Additionally, outpatient services are offered in the Eastern

Lake Norman Area by a broader set of providers under different competitive conditions and in a

wider variety of settings, such as ambulatory surgery centers and physician offices.

        31.     The relevant service market does not include other services that are neither

substitutes for nor offered under similar competitive conditions as inpatient GAC services. For

example, the relevant service market does not include pediatric hospital services or inpatient

psychiatric, substance abuse treatment, or rehabilitation services.

        32.     The hypothetical monopolist test is a quantitative tool that courts and federal

agencies use to assist in determining relevant markets in antitrust cases. The test involves

examining whether a hypothetical monopolist of a candidate market could profitably impose a

small but significant and non-transitory increase in price or other worsening of terms. If a

hypothetical monopolist could impose such an increase or other worsening of terms, that

candidate market is a valid market for antitrust analysis.

        33.     A hypothetical monopolist of inpatient GAC services sold to commercial insurers

and their members could profitably impose a small but significant and non-transitory increase in

the price or other worsening of terms of those services. The market for inpatient GAC services

sold to commercial insurers and their members therefore satisfies the hypothetical monopolist

test.

                B. Relevant Geographic Market: The Eastern Lake Norman Area

        34.     An appropriate relevant geographic market in which to analyze the competitive

effects of the Proposed Transaction is the Eastern Lake Norman Area, which chiefly includes

Iredell County and northern Mecklenburg County. The Eastern Lake Norman Area is the primary

area in which Lake Norman Regional and Novant Huntersville compete.
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       35.     The Eastern Lake Norman Area is a rapidly growing suburban community north

of Charlotte. Its population of more than 335,000 residents is centered in Mooresville, Davidson,

Cornelius, Huntersville, and Statesville. These municipalities form a narrow corridor along

Interstate 77 (“I-77”), a significant north-south thoroughfare.

       36.     The Eastern Lake Norman Area is a distinct community, as recognized by

residents, business leaders, and market participants. On its south, the Eastern Lake Norman Area

is bordered by Interstate 485, which divides the city of Charlotte from its outer suburbs. Lake

Norman forms a                              near the western side of the relevant geographic

market, creating a physical impediment to east-west travel and a preference among residents to

receive healthcare services on their side of the lake. The north and east ends of the Eastern Lake

Norman Area are more sparsely populated areas along the Iredell and Mecklenburg county lines.

Residents of the Eastern Lake Norman Area are highly attuned to traffic congestion and driving

times to center-city Charlotte, which dissuade many from traveling to Charlotte for healthcare

services.

       37.     Patients in the Eastern Lake Norman Area prefer to receive inpatient GAC

services close to their homes. Many patients do not view hospitals outside the Eastern Lake

Norman Area as viable alternatives, and most patients from the Eastern Lake Norman Area stay

within the area to receive inpatient GAC services. Employers contracting for commercial

insurance seek health plans with a provider network that is satisfactory for a broad set of their

employees. For these reasons, insurers do not believe they could successfully market health plans

in the Eastern Lake Norman Area if their provider networks did not include a GAC hospital in

the Eastern Lake Norman Area. Additionally, federal time-and-distance requirements applicable




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to some commercial health plans can be satisfied only by including at least one of the Eastern

Lake Norman Area hospitals in-network.

       38.     The following map shows the Eastern Lake Norman Area and the locations of the

four GAC hospitals located therein: CHS’s Lake Norman Regional, Novant Huntersville, Iredell

Memorial, and the planned Atrium Lake Norman.




       39.     The Eastern Lake Norman Area is an important market for commercial insurers

because of its fast-growing population and the high proportion of its residents covered by

employer-based commercial insurance. An insurer would incur significant financial harm if it

could not offer a marketable provider network to employers with workers who reside in the

Eastern Lake Norman Area.




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Atrium Lake Norman indicates that a well-defined geographic market will encompass those

facilities.

        43.     Quantitative analysis confirms this commercial reality. A hypothetical monopolist

of inpatient GAC services sold to commercial insurers and their members in the Eastern Lake

Norman Area could profitably impose a small but significant and non-transitory increase in price

or other worsening of terms of those services. The Eastern Lake Norman Area therefore satisfies

the hypothetical monopolist test.

        44.     In the alternative—although less illuminative of the competitive effects of the

Proposed Transaction—the broader Center City/Northern Charlotte Region also constitutes a

relevant geographic market. Alongside the Eastern Lake Norman Area, this geographic area adds

center-city Charlotte, the northern and northeastern sections of Charlotte, and the western portion

of Cabarrus County. This broader area encompasses the four GAC hospitals in the Eastern Lake

Norman Area and several others, including Novant’s Presbyterian Medical Center, Atrium

Health Carolinas Medical Center, Atrium Health Mercy, Atrium Health University City, and

Atrium Health Cabarrus. It would be very difficult for a commercial insurer to successfully

market a health plan to Center City/Northern Charlotte Region employers and residents if its

provider network excluded all GAC hospitals from that area.

        45.     A hypothetical monopolist of inpatient GAC services across the entire Center

City/Northern Charlotte Region could profitably impose a small but significant and non-

transitory increase in price or other worsening of terms on commercial insurers that sell health

plans in the Center City/Northern Charlotte Region.




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                  C. The Proposed Transaction Would Lead to a Presumptively
                               Illegal Increase in Concentration

       46.     The Proposed Transaction is presumptively illegal because it significantly

increases concentration and results in a highly concentrated market for inpatient GAC services

sold to commercial insurers and their members in the Eastern Lake Norman Area. The impact of

the Proposed Transaction on market concentration is sufficient to establish a prima facie case

that the Proposed Transaction violates the antitrust laws.

       47.     Courts, federal and state agencies, and economists commonly employ market

shares and a metric known as the Herfindahl-Hirschman Index (“HHI”) to measure market

concentration. The HHI for a given market is calculated by summing the squares of the

individual firms’ market shares. HHIs range from a number approaching zero (in the case of an

atomistic market) to 10,000 (in the case of a pure monopoly). A market is considered highly

concentrated if it has an HHI of more than 1,800.

       48.     An acquisition is presumptively illegal if it increases the HHI of a relevant market

by more than 100 points and either (a) produces a post-acquisition HHI greater than 1,800 points

or (b) creates a combined firm with a market share greater than 30 percent.

       49.     The Proposed Transaction’s impact on market concentration far exceeds the levels

that trigger a presumption of illegality, increasing the HHI in the Eastern Lake Norman Area by

well over 1,000 points, leading to a post-acquisition HHI significantly above 3,500 points and a

post-acquisition market share for Novant of considerably more than 30 percent. Indeed, the most

appropriate measures indicate that the Proposed Transaction would increase the HHI in the

market by more than          resulting in a (a) post-acquisition HHI of more than       and (b)

market share for Novant of approximately       percent. These post-transaction concentration




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estimates assume Atrium Lake Norman is currently a market participant, despite Atrium’s

projection that the facility will become operational only in mid-2025.

       50.     Assuming an operational Atrium Lake Norman, the Proposed Transaction would

reduce the number of healthcare providers offering inpatient GAC services in the Eastern Lake

Norman Area from four to three. Moreover, without preliminary injunctive relief, the

competitive harm would be even more severe during the period while merits proceedings are

ongoing before the Commission. Before the planned opening of Atrium Lake Norman in mid-

2025, the Proposed Transaction would leave only two competing providers in the Eastern Lake

Norman Area: Novant and Iredell Memorial. Without preliminary injunctive relief, the

competitive harm during this period would be particularly acute.

       51.     The presumption of anticompetitive harm from the Proposed Transaction does not

depend on a market defined around the Eastern Lake Norman Area. Even if the hospitals in the

Center City/Northern Charlotte Region are included in the geographic market, the Proposed

Transaction would still produce presumptively illegal market concentration levels and increases

in market concentration. Including these hospitals—although less reflective of competitive

realities—shows the Proposed Transaction would still increase the HHI by more than        points,

resulting in a post-acquisition HHI of over      points and a post-merger market share of more

than    percent for Novant. The Proposed Transaction, therefore, remains presumptively illegal

even if analyzed in a broader region than the Eastern Lake Norman Area.

                VI. THE PROPOSED TRANSACTION WOULD ELIMINATE
                      HEAD-TO-HEAD COMPETITION BETWEEN
               LAKE NORMAN REGIONAL AND NOVANT HUNTERSVILLE

       52.     CHS’s Lake Norman Regional and Novant Huntersville currently compete closely

to provide inpatient GAC services to commercial insurers and their members. This competition

creates numerous benefits for patients in the Eastern Lake Norman Area, driving Defendants to
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offer more competitive reimbursement rates and to invest in improving the quality of their

healthcare services. The Proposed Transaction would immediately eliminate this important head-

to-head competition. It would combine what is currently                             for inpatient

GAC services in the Eastern Lake Norman Area with

hospital systems. The anticompetitive effects of the Proposed Transaction would likely burden

employers and residents in the Eastern Lake Norman Area with higher healthcare costs and

hospitals that face a reduced incentive to invest in innovative, accessible, and high-quality care.

        53.     The Proposed Transaction would eliminate substantial competition between Lake

Norman Regional and Novant Huntersville to sell inpatient GAC services to commercial insurers

and their members. The loss of this substantial competition renders the Proposed Transaction

unlawful and provides an additional and independent basis to preliminarily enjoin the Proposed

Transaction pending merits proceedings before the Commission.

                      A. Competition Between Hospitals Benefits Consumers

        54.     Hospital competition to provide healthcare services to commercially insured

patients occurs in two distinct but related stages. First, hospitals compete for inclusion in

commercial insurers’ health plan provider networks. Second, in-network hospitals compete to

attract patients.

        55.     In the first stage of hospital competition, hospitals compete to be included in the

provider networks for commercial insurers’ health plans. To become an in-network provider in a

health plan, a hospital negotiates with an insurer and enters into a contract if it can agree on

terms with the insurer. The reimbursement rates for services rendered to a health plan’s members

are a central component of these negotiations. This is true regardless of whether reimbursements

are tied to fee-for-service contracts, value-based contracts, or other types of contracts.



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       56.     Insurers seek to create a network of healthcare providers that is attractive to

current and prospective customers. Employers aim to find health plans with a provider network

that is suitable for a broad range of their employees. For this reason, insurers attempt to contract

with local hospitals that are desirable to residents who are current or prospective members of a

commercial health plan. Patients prefer to seek treatment close to where they live. It is typically

far less expensive for health plan members to receive care from an in-network hospital than a

hospital that is not included in the health plan’s provider network. Having local hospitals in-

network thus enables the insurer to assemble a provider network that is attractive to current and

prospective customers in a particular geographic area, generally local employers and their

employees.

       57.     A hospital is likely to attract more of a health plan’s members if it is in-network

because members will face lower out-of-pocket costs for care at that facility. Hospitals therefore

have an incentive to offer competitive terms and reimbursement rates to induce insurers to

include the hospital in their provider networks.

       58.     A hospital has significant bargaining leverage if its absence would make an

insurer’s health plan provider network substantially less attractive to current and prospective

customers and members in a geographic area. The relative importance of a hospital to the insurer

hinges on whether other nearby hospitals could serve as viable in-network substitutes in the eyes

of customers and health plan members. The nearby presence of alternative, high-quality hospitals

creates important competition that limits the ability of hospitals to raise prices and to impose

other unfavorable terms in negotiations with insurers. Where there are fewer meaningful

alternatives—i.e., less competition—a hospital will have greater bargaining leverage to obtain

higher reimbursement rates and other more onerous contract terms.



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        59.     A merger involving hospitals that are good substitutes for patients increases the

combined entity’s bargaining leverage with insurers. Such a merger can lead to higher prices and

a reduced incentive to invest in innovation and quality of care because the merger eliminates an

alternative that an insurer could otherwise offer (or threaten to offer) its customers and health

plan members.

        60.     Increases in reimbursement rates significantly impact health plan customers and

members, such as through higher premiums, increased cost-sharing payments, or fewer benefits.

Self-insured employers fully bear increased reimbursement rates because they pay for claims

directly. Fully insured employers face higher premiums driven by increased reimbursement rates.

Individual consumers also can feel the burden of increased reimbursement rates in the form of

higher insurance premiums, co-pays, co-insurance, deductibles, or other out-of-pocket costs.

        61.     In the second stage of hospital competition, hospitals compete to attract patients

to their facilities by offering convenient, high-quality healthcare services. After selecting a health

plan, patients generally do not face different out-of-pocket costs to access various hospitals

included in their health plan’s provider network. As a result, hospitals compete on non-price

features, including location, quality of care, enhanced service offerings, reputation, amenities,

and patient satisfaction. Hospitals also compete for patient volume by seeking to persuade

physicians to refer or admit patients to their facility.

        62.     Non-price competition benefits all patients of the competing hospitals, whether

those patients are covered by commercial insurance, Medicare or Medicaid, or no insurance at

all. Indeed, many Medicaid and low-income patients have limited transportation options, which

makes local non-price competition particularly important. A merger of competing hospitals

eliminates this significant non-price competition.



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              B. Lake Norman Regional and Novant Huntersville Compete Closely

       63.       CHS’s Lake Norman Regional and Novant Huntersville are direct competitors.

Each hospital pays close attention to the competitive threat posed by the other.

       64.       Lake Norman Regional treats Novant Huntersville as its most important

competitive rival. In July 2022, Lake Norman Regional’s CEO shared a set of growth strategies

he characterized as “                                                                               ”

Executives at Lake Norman Regional repeatedly prepared strategic presentations featuring a



              CHS also characterized Novant Huntersville as the

                                            Lake Norman Regional’s leaders monitor Novant

Huntersville’s                                                          , noting that

                                                                  . In 2022, CHS named Novant

Huntersville as



       65.       Novant likewise views Lake Norman Regional as one of its closest competitors.

For example, Novant’s strategic plans for its self-defined



                           to Novant Huntersville. Novant regularly tracks Lake Norman

Regional’s                                                         .

       66.       Lake Norman Regional and Novant Huntersville are significant competitors

because they offer a similar set of services in close geographic proximity. The two hospitals are

located closer to each other than either is to any other currently operating GAC hospital. The

“service areas” of these hospitals (i.e., the areas from which the hospitals draw their patients)



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overlap significantly, particularly in southern Iredell County, where “

      ” and “                                                                .”

       67.      Both CHS and Novant have strong incentives to compete vigorously in the

Eastern Lake Norman Area. This geographic area has rapid population growth and a lucrative

“payor mix” that features a large proportion of commercially insured patients. Hospitals receive

substantially higher reimbursement rates for commercially insured patients relative to patients

covered by Medicare, Medicaid, or related managed care health plans.

       68.      Lake Norman Regional and Novant Huntersville currently serve as important

alternatives to one another for insurers constructing provider networks. They are the only

currently operating GAC hospitals along the 42-mile stretch of I-77 between Iredell Memorial in

Statesville and center-city Charlotte. Insurers believe that a health plan must have an in-network

GAC hospital within fewer than 15 or 20 miles to be marketable in parts of northern

Mecklenburg and southern Iredell counties—leaving Defendants’ hospitals as the only two

options. Moreover, for commercial health plans sold on the Affordable Care Act Health

Insurance Marketplace, Lake Norman Regional and Novant Huntersville are the only hospitals

that can satisfy geographic access requirements for large swathes of northern Mecklenburg

County.

       69.      Defendants recognize that patients frequently choose between Lake Norman

Regional and Novant Huntersville. Lake Norman Regional’s CEO pointed out his hospital’s “

             ” of “                                            ” Novant Huntersville’s progress



                      “

                                       .” When Lake Norman Regional launched a “



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        ” plan to shore up its market share, its target was clear. The plan involved



                                                           .”

       70.     Patients treat Lake Norman Regional and Novant Huntersville as close

substitutes, which drives the intensity of competition between the two hospitals. Diversion

analysis is an economic tool that measures patterns of patient substitution between hospitals

using data describing where patients receive hospital services. Diversion analysis shows that, if

Lake Norman Regional became unavailable to patients for inpatient GAC services, Novant

Huntersville would be their top alternative destination. If Novant Huntersville were to become

unavailable, a substantial proportion of Novant Huntersville’s patients would seek inpatient GAC

services at Lake Norman Regional. Insurers similarly consider Lake Norman Regional and

Novant Huntersville to be important substitutes in the eyes of their health plan members.

       71.     In addition to removing CHS as a competitor, the Proposed Transaction would

eliminate the possibility of a different healthcare system acquiring Lake Norman Regional and

continuing to compete against Novant Huntersville.



                                                                                       ” The

Proposed Transaction would put an immediate stop to competition between Novant Huntersville

and Lake Norman Regional and the benefits it produces for patients.

       72.     Atrium’s plan to open a small, 30-bed hospital in Cornelius does not neutralize

the competitive intensity between Lake Norman Regional and Novant Huntersville. Atrium Lake

Norman aspires to open its doors in mid-2025, but that timeline is not certain. Assuming Atrium

Lake Norman is operational, the Proposed Transaction would reduce the number of competing



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providers in the Eastern Lake Norman Area from four to three, and it would leave a weaker set

of competitive alternatives. Even if it were consistently filled to maximum capacity, Atrium

Lake Norman would serve less than 50 percent as many patients as Lake Norman Regional and

less than 30 percent as many patients as Novant Huntersville.

                                                                                   Atrium Lake

Norman’s limited capacity and service offerings would make it unable to treat a meaningful

proportion of the patients seeking care in the area.

                         C. Head-to-Head Competition Between
         Lake Norman Regional and Novant Huntersville Constrains Healthcare Rates

       73.     Today, close head-to-head competition between CHS’s Lake Norman Regional

and Novant Huntersville incentivizes Defendants to keep prices lower and quality of care higher

than they would absent this competition. Lake Norman Regional obtains in-network status with

insurers by offering low reimbursement rates relative to other GAC hospitals. Across the largest

commercial insurers in North Carolina,



       74.     CHS also competes on non-price factors to ensure the inclusion of Lake Norman

Regional in insurers’ provider networks. Lake Norman Regional has sought to




       75.     By eliminating Lake Norman Regional and Novant Huntersville as competitive

alternatives, the Proposed Transaction likely would increase Novant’s leverage in insurer

negotiations to obtain higher reimbursement rates, especially at Lake Norman Regional. Today,

competitive pressure may prevent Lake Norman Regional from negotiating higher rates with

insurers. But if the Proposed Transaction is allowed to close, Novant would be able to leverage


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its control of an even greater proportion of the Eastern Lake Norman Area’s hospitals when

negotiating rates for Lake Norman Regional. The Proposed Transaction is likely to substantially

reduce the need to offer attractive rates at Lake Norman Regional to persuade insurers to include

the hospital in their provider networks.

       76.     CHS recognizes that

                                            . In an email, the company’s



                                                                 . He predicted that “

                                                                                               .”

Instead, CHS began

                                  .

                                                                                               .”

       77.




       78.     Novant would have the ability to profitably raise prices at both Lake Norman

Regional and Novant Huntersville following the Proposed Transaction. The competitive harm of

the Proposed Transaction is likely to increase annual healthcare costs by approximately

        Rate increases are likely to be particularly acute at Lake Norman Regional—economic




                                               25

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modeling indicates the post-merger entity may be able to obtain



       79.     Post-merger, insurers constructing a provider network would have fewer

alternatives to either Lake Norman Regional or Novant Huntersville. Iredell Memorial in

Statesville is a 20- to 30-minute drive north of population centers in Mooresville, Cornelius, and

Huntersville, making it a less desirable replacement for Lake Norman Regional or Novant

Huntersville. Even upon the anticipated opening of the 30-bed Atrium Lake Norman hospital in

Cornelius, its limited capacity would make it a less effective substitute for hospitals in an

insurer’s provider network than Lake Norman Regional and Novant Huntersville are for each

other. As a result, should Novant acquire Lake Norman Regional, the merged firm would likely

be able to command higher reimbursement rates or other more onerous contractual terms than

Defendants do separately today. Such higher rates would likely harm employers and consumers

through increased costs—such as higher insurance premiums, co-pays, co-insurance, and

deductibles—or decreased benefits.

       80.     Moreover, the risk of competitive harm is even more severe during the period for

which the FTC requests preliminary injunctive relief. Atrium Lake Norman is not anticipated to

open until mid-2025. Before that point, the planned opening of Atrium Lake Norman may

provide a limited competitive constraint at most. In the absence of preliminary injunctive relief,

the risk of interim competitive harm during the pendency of the Commission’s administrative

merits proceeding is particularly acute.

                 D. Current Competition between Defendants to Attract Patients
                      Drives Investment in Quality of Care and Innovation

       81.     In addition to constraining healthcare rates, CHS’s Lake Norman Regional and

Novant Huntersville also compete with one another to attract patients to utilize their inpatient


                                                 26

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GAC services, regardless of the patient’s insurer. This competition currently incentivizes each

hospital to improve quality, technology, amenities, equipment, access to care, and service

offerings. The benefit of that competition would be lost if the Proposed Transaction is allowed to

proceed.

       i. Quality and Service Improvements

       82.     Defendants have invested in their healthcare systems and facilities to compete to

attract patients to Lake Norman Regional and Novant Huntersville.




       83.




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84.




85.




86.




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       87.     All patients of Lake Norman Regional and Novant Huntersville benefit from the

hospitals’ non-price competition. The intense head-to-head competition between the two

hospitals has spurred investments that have delivered newer medical equipment, more accessible

healthcare services, and expanded service offerings. If the Proposed Transaction is allowed to

close, the competitive pressure driving these business investments would cease the day the

merger is completed.

       ii. Physicians and Physician Referrals

       88.     Defendants also compete with one another by recruiting physicians.




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       89.     Lake Norman Regional and Novant Huntersville also currently compete for

physician referrals.




       iii. Investments in Capacity and Output

       90.     The Proposed Transaction also threatens to eliminate planned improvements in

capacity and quality in the Eastern Lake Norman Area.




          VII. COUNTERVAILING FACTORS DO NOT OFFSET THE PROPOSED
                    TRANSACTION’S THREAT TO COMPETITION

       91.     De novo entry of providers of inpatient GAC services in the Eastern Lake Norman

Area in response to the Proposed Transaction would not be timely, likely, or sufficient to offset

the Proposed Transaction’s anticompetitive effects.


                                                30

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        92.     Constructing a new hospital is expensive and involves significant financial risks,

including the time and resources necessary to develop plans, acquire land or repurpose a facility,

garner community support, obtain regulatory approvals, build the hospital, and prepare to open

its doors.

        93.     North Carolina state law requires providers to obtain a certificate of need

(“CON”) before building a new GAC hospital or expanding an existing GAC hospital. The

process of obtaining a CON is expensive, time-consuming, and uncertain to succeed. Denial of a

CON application would bar a prospective competitor from entering the market or increasing the

number of beds with which to provide inpatient GAC services.

        94.     Atrium’s experience pursuing the opening of Atrium Lake Norman illustrates the

high barriers to building a new hospital in this area. State regulators twice denied Atrium’s

applications for a CON for Atrium Lake Norman. Atrium gained approval only after it

abandoned its attempt to secure new licensed beds, instead reallocating 30 licensed beds that

were already approved at other Atrium hospitals. Atrium did not begin construction of Atrium

Lake Norman until May 2023, nearly four years after it applied for a CON for the facility in

2019. The hospital has faced multiple years of delays and cost overruns of nearly 50 percent.

Atrium Lake Norman is now projected to open in mid-2025—nearly six years after Atrium first

filed its CON application. Other healthcare systems agree that opening a new hospital is an

enormously daunting proposition that would require hundreds of millions of dollars.

        95.     There are no pending CON applications to add new inpatient beds in the Eastern

Lake Norman Area. None of the healthcare systems in other parts of the Charlotte region have

announced plans to enter the Eastern Lake Norman Area.




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       96.      Expanding existing GAC hospitals would encounter similarly high barriers,

including substantial time and expense for planning, pursuing a CON and other regulatory

approvals, and construction.



       97.      Expansion of inpatient capacity at existing GAC hospitals in the Eastern Lake

Norman Area in response to the Proposed Transaction would not be timely, likely, or sufficient

to offset the Proposed Transaction’s anticompetitive effects.

       98.      Atrium has not applied to expand Atrium Lake Norman’s inpatient capacity

beyond its 30 currently licensed beds. There is a low likelihood that Atrium Lake Norman would

be able to timely expand its capacity to blunt the anticompetitive effects of the Proposed

Transaction.

       99.      Defendants cannot demonstrate merger-specific, verifiable, and cognizable

efficiencies sufficient to overcome the structural presumption of illegality or to show that the

Proposed Transaction does not threaten to substantially lessen competition.

     VIII. LIKELIHOOD OF SUCCESS ON THE MERITS, BALANCE OF EQUITIES,
                           AND NEED FOR RELIEF

       100.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), authorizes the Commission,

whenever it has reason to believe that a proposed acquisition is unlawful, to seek preliminary

injunctive relief to prevent consummation of the acquisition until the Commission has had an

opportunity to adjudicate the acquisition’s legality in an administrative proceeding. In deciding

whether the requested relief is in the public interest, the Court must balance the FTC’s likelihood

of ultimate success on the merits with the weight of the equities. The predominant equity in cases

brought under Section 13(b) is the public’s interest in effective enforcement of the antitrust laws.




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To the extent private equities affecting only Defendants’ interests are even relevant at this stage,

they should be afforded little weight and cannot tip the scale against a preliminary injunction.

       101.     The FTC is likely to succeed in proving at the administrative trial that the effect

of the Proposed Transaction may be substantially to lessen competition or to tend to create a

monopoly in violation of Section 7 of the Clayton Act or Section 5 of the FTC Act, or that the

Proposed Transaction constitutes an unfair method of competition in violation of Section 5 of the

FTC Act.

       102.     The equities weigh strongly in favor of preliminary injunctive relief. Should the

Commission rule after the full administrative trial that the Proposed Transaction is unlawful, it

would be difficult, and perhaps impossible, to unwind the competitive harm of the Proposed

Transaction if the merger has already been completed. The integration of Novant and Lake

Norman Regional’s operations, including by implementing higher prices, altering Lake Norman

Regional’s operations and business plans, eliminating key Lake Norman Regional personnel, and

sharing competitively sensitive information, would impede any attempt to reverse the

competitive harm of the Proposed Transaction.

       103.     Moreover, in the absence of relief from this Court, substantial harm to

competition could occur immediately, even if it were feasible to obtain an effective divestiture

remedy following the administrative proceeding. This interim harm would likely result in

increased healthcare costs for employers and individuals in the Eastern Lake Norman Area and

lessen providers’ incentive to invest in quality of care and healthcare innovation.

       104.     There are no countervailing equities implicated by the Proposed Transaction

sufficient to overcome the public’s strong interest in effective enforcement of the antitrust laws.




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       105.     Accordingly, the requested equitable relief is in the public interest.

WHEREFORE, Plaintiff respectfully requests that the Court:

          a. Enter the parties’ stipulated temporary restraining order;

          b. Preliminarily enjoin Defendants from taking any further steps to consummate the

                Proposed Transaction, or any other acquisition of stock, assets, or other interests

                of one another, either directly or indirectly;

          c. Retain jurisdiction and maintain the status quo until the conclusion of the

                administrative proceeding that the Commission has initiated; and

          d. Award such other and further relief as the Court may determine is appropriate,

                just, and proper.




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Dated: January 25, 2024              Respectfully submitted,


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